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          June6,2019


          Christine Wichers
          Dustin Chou
          Assistant United States Attomeys
          U.S. Courthouse, Suite 9200
          1 Courthouse Way
          Boston.MA 02210

                 RE:     Vnited States v Wesley MacGregor
                         Crim. No.: 19-cr-10l41-LTS

          Dear Attomey Wichers and Attomey Chou;

                  Pursuant to Fed. R. Crim. P. 16 and Local Rule 116.3(A), Wesley MacGregor
          requests that the govemment provide discoven' as follows:

          I.     Pursuant to F. R. Crim. P. 16

                  1.     MacGregor understands that the government has represented that is has
          provided or has made available for inspection any and all written or recorded statements
          ofMacGregor pursuant to Rule 16(a)(l)(A) and (B), any prior criminal record pursuant to
          Rule 16(a)(l)(D), documents and tangible objects pursuant to Rule 16(a)(l)(E), and
          reports of examinations and tests pursuant to Rule 16(a)(l)(F).

                  2.      The government has agreed to provide notice ofany expert witness
          testimony pursuant to Rule 16(a)(l)(G) thirty (30) days before trial. MacGregor requests
          that the notice include: (1) the name and address and telephone number ofthe vvitness;
          (2) the qualifications ofthe witness; (2) the subject matter ofthe witness's opinion; (3) a
          written summarv' ofthe testimony the government intends to proffer at trial under Fed. R.
          Evid. 702, 703, or 705 with any such summan' describing in detail the witness's
          opinion(s), as vvell as each basis or reason therefore, (4) identification by the expert
          of all documents, article, methods or testing reviewed and relied upon by the expert in
          reaching his or her conclusions and (5) the names and docket numbers ofall cases in
vvhich the expert has previously testify ivithin the last five years; and the subject matter of
each testimony.



II.     Pursuant to Local Rule 116

        3.      MacGregor understands that the govemment has represented that it has
provided   any search material pursuant to Local Rule 116.1(c)(l)(B), electronic
surveillance pursuant to Local Rule 116.l(c)(l)(C), consensual intereeptions pursuant to
Loeal Rule 116.1(c)(l)(D), unindicted coconspirators information pursuant to Local Rule
116.1(c)(l)(E), identifications pursuant to Local Rule 116.1(c)(l)(F), and any
exculpatory evidence as required pursuant to Local Rule 116.2((b)(l).

        4.      Regarding exculpatory evidence (see 116.2(b)( 1 )(C)), MacGregor is
specifically requesting the following additional discovery regarding any witness in the
goveminent s case:

               a.      Any oral or written promises made by the United States Attorney's
                       Office or any other government agency to "A.S.," as he is denoted
                       in the Indictment, regarding: (1) any intention not to prosecute him
                       for any federal crimes or offenses, past or present; (2) any
                       applications filed by any govemment agency for an S visa or any
                       other visa for the benefit ofA.S.; (3) any housing, financial, legal
                       or other assistance provided to A.S., (4) any applications filed on
                       behalfofA.S. to seeure any benefits or assistance for him; and (5)
                       any and all communication with any state or federal court by the
                       govemment or any government agents on behalfofA.S. or in
                       furtherance ofthis case.

               b.      Any oral or written promises made by the United States Attorney's
                       Office or any other government agency to the Defense Attomey, as
                       he is denoted in Paragraph 26 of the Indictment, as to any and all
                       communications and or discussions relative to the govemment's
                       intent to prosecute or not to prosecute the Defense Attomey for
                       any federal crime including, but not limited to a complete
                       deseription of any hypothetical scenarios of potential prosecutions
                       used by the govemment or any agent of the govemment in
                       communicating with the Defense Attomey.

               c.      Any oral or written promises made by the United States Attorney's
                       Office or any other government agency to the Defense Attorney
                       regarding any ethical violation the Defense Attomey may be
                       exposed to whieh couldjeopardize the Defense Attorney's license
                       to practice law.
             d.     Any report from the Federal Marshals as to any alleged statement
                    made by MacGregor during transport to or from his initial
                    appearance.

             e.     Any and all training, personnel, policy and procedures manuals for
                    Massachusetts Court Officers and all Massachusetts Trial Court
                    employees from 1993 to the present.

             f.     The mobile data terminal data, turret tapes, CAD sheets, bookin;
                    photos and drug certifications from the 3/30/18 arrest relating to
                    A.S. as identified in the Indictment.

             g.     Any and all Department of Homeland Security or ICE detainee
                    training materials, training classes or instructions offered by the
                    Massachusetts Trial Court to any employees, including, but not
                    limited to Court Officers.

             h.     All photographs referenced in the NCIC/III diseovery from bate
                    stamped pages 654-676.

             i.     The complete FBI file for A.S.

             j.     Copies ofthe logs mentioned on bate stamped page 588 in the
                    diseoverv'

             k.     Anv information the government has learned from any source as to
                    the use by any court officer of any lock up door to release a
                    defendant, in the Nevv-ton District Court or any other district or
                    Superior Court, the number of times such a release took place and
                    the names and contact information for any such court officer or
                    witness.

             1.      Any and all conimunications between the United States Attornev's
                    Office, the Department of Homeland Security and any member of
                    the Executive branch ofgovemment about this prosecution.

             m.     The complete Alien or "A" file ofA.S.

             n.     Any and all statements contradicting MacGregor's alleged
                    statements and/or Grand Jury testimony known to the govemment
                    and any of its agents.


III.   Other Requests

       5.    MacGregor is further requesting production forthwith of:
              a.     The exculpator}' discovery categories listed in Local Rule
       116.2(b)(2)(A)-(G);

       MacGregor understands that the local rules provides such discoven' is to
be produced not later than twenty-one (21) days before the first assigned trial date.
However, the defendant states that any such discover;' is material and necessary to his
preparation and defense and that failure to make such productmnforthwith violates
MacGregor's rights to due process and effective assistance ofcounsel.

        6.     To provide a reasonable time to prepare for trial and to avoid undue
surprise, MacGregor is further requesting production of the followine forthwith (rather
than tvventy-one days before trial):

               a.     Statements, as defined by 18 U.S.C. § 3500(e) and Fed. R. Crim. P.
                      26.2(f), of witnesses, which the govemment intends to call in its
                      case-in-chief. See Local Rule 117.1(a)(5).

        7.     Altemately MacGregor requests for the purpose ofproperly evaluating,
preparing  and/or presenting a motion for severance:

               a.     Any grandjury testimony or other statements by either the Defense
                      Attorney, Assistant District Attorney, Court clerk, inteqireter or
                      Judge Joseph, as to any statements alleged during the 52 seconds
                      that the NDC tape was turned off;
               b.     Any grandjurv- testimony or other statements made by the
                      defendant Judge Joseph or any other alleged unindicted eo-
                      eonspirator to any person as to: (i) any alleged instructions
                      provided to MacGregor about the release ofA.S.; (ii) any
                      information that the alleged instructions were communicated to
                      MacGregor;


       8.     Further, MacGregor requests the preservation and production ofany notes
taken by government agents and counsel during interv'iews ofany govemment witnesses.

       9.      Any instructions given to the grand jun' concerning the elements ofthe
offenses charged in the Indictment.

        MacGregor again states that any such discoven' is material and necessar}' to
his preparation and defense and that failure to make such production/orf/!w;(A violates
MacGregor's rights to due process and effective assistance ofcounsel.

       10.    MacGregor requests notice of the government's intention to use the
Residual Hearsay Exception under Fed. R. Evid. 807. That is, MacGregor requests that
the government provide notice of any intent to offer a statement, not specifically covered
by the hearsay exceptions set forth in Fed. R. Evid. 803(1 )-(23) and 804(b)(l)-(4), but
allegedly having equivalent eircumstantial guarantees of trustworthiness and to further
provide notice of the particulars of any such statement, including the name and address of
the declarant.

        MacGregor reserves the right to supplement the above requests, particularly upon
receipt ofcertain additional materials to be received under protective order.



Sincerelv.



/s/ Rosemary C, ScaEiicchig
ROSEMARY C. SCAPICCHIO
